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UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
SOUTHERN DIVISION

GARY BRICE MCBAY PLAINTIFF
V. CIVIL ACTION NO. 1:07CV1205-LG-RHW

HARRISON COUNTY, MISSISSIPPI BY AND
THROUGH ITS BOARD OF SUPERVISORS;
HARRISON COUNTY SHERIFF GEORGE PAYNE;
WAYNE PAYNE; DIANE GATSON RILEY;

STEVE CAMPBELL; RICK GATSON; RYAN TEEL;
MORGAN THOMPSON; JOHN DOES 1-4;
AMERICAN CORRECTIONAL ASSOCIATION;
JAMES A GONDLES, JR.; UNKNOWN DEFENDANTS
1-3 EMPLOYEES OF AMERICAN CORRECTIONAL
ASSOCIATION; HEALTH ASSURANCE LLC AND
UNKNOWN DEFENDANTS 1-2 EMPLOYEES OF
AMERICAN CORRECTIONAL ASSOCIATION DEFENDANTS

STATE OF MISSISSIPPI

COUNTY OF HARRISON

AFFIDAVIT OF KENNETH ALLEN

PERSONALLY CAME AND APPEARED BEFORE ME the undersigned authority in and
for the County and State aforesaid, the within named, KENNETH ALLEN, who, after first being
duly sworn by me on his oath, did depose and state the following:

1. My name is KENNETH ALLEN, and I am over the age of twenty-one (21) years.

I have personal knowledge of the matters and facts contained in this Affidavit and I
am competent to testify to the matters stated herein.

2. At the time of this alleged incident I held the position of patrol officer for the

Page | of 2 EXHIBIT

non

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Harrison County Sheriff's Department.

[have attached hereto as Exhibit “1" a true and correct copy of my Arrest Report,
Offense Form including Narrative of offense prepared on or about November 6,
2005. This document was routinely prepared in the course and scope of my duties
as a patrol officer for the Harrison County Sheriffs Department and it was prepared
immediately following my transport of McBay to the Harrison County Adult
Detention Center after his arrest at Choppers Lounge on November 6, 2005. Exhibit
“1" fairly and accurately represents my contemporaneous observations of the events

which took place during my arrest of Gary McBay on November 6, 2005.

? oo
_ Affiant/Kenmeth Allen

Harrison County, Mississippi

Sworn to and subscribed before me on this the LO day of October, 2009,

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¢RISON COUNTY SHERIFF'S DEPARTM,

UNIFORM ARREST / BOOKING FORM

Filed ve

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HCSD FILE # Ol JUVENILE INVOLVED

NAME (LAST, FIRST, MIDDLE) ALIAS OR NICKNAME (LAST, FIRST, MIDDLE,ECT) CASE NUMBER

MCBAY, GARY BRICE N/A 05-21728

ADDRESS CITY STATE ZIP CODE HOME PHONE NUMBER

1109 SILVERCREEK DE SOTO TX 75115 N/A

OCCUPATION / EMPLOYER CHY STATE ZIP CODE WORK PHONE NUMBER

UNEMPLOYED N/A N/A N/A N/A

AGE DATE OF BIRTH SOCIAL SECURITY NUMBER DRIVERS LICENSE NUMBER STATE

29 08-05-76 Ye 96- Yo 16889131 TX

SEX RACE HEIGHT | WEIGHT | HAIR EYES HISPANIC PLAGE OF BIRTH (CITY, STATE)

M Ww 506 150 BLONDE BLUE NO DALLAS, TX

[7] scars L] marxs L] tarroos [] amputations

NONE

FB) NUMBER OTHER ALIAS INFORMATION

EMERGENCY CONTACT RELATIONSHIP HOME PHONE WORK PHONE ADDRESS

NONE

HOW ARREST WAS MADE JUDGE WARRANT DATE

ON CALL MM oonviewL] on warrantt]

CHARGE FELL] miso ki OFFENSE DATE CASE # CAUSE # BOND AMOUNT BOND A/O

PUBLIC DRUNK 11-06-05 05-21728 $ 500.00 IST JUSTICE

DISPOSITION OF CHARGE MISD COURT DATE COURT / DISTRICT —

12-14-05 IST JUSTICE

CHARCE FEL] wisoL OFFENSE DATE CASE # CAUSE # BOND AMOUNT BOND Alo
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DISPOSITION OF CHARGE MISD COURT DATE COURT / DISTRICT

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DISPOSITION OF CHARGE MISD COURT DATE COURT / DISTRICT

CHARGE re. wisp OFFENSE DATE CASE # CAUSE # BOND AMOUNT _ BOND A/O
$

DISPOSITION OF CHARGE. MISD COURT DATE COURT DISTRICT

CAPIAS-FINE § CASH ONLY TOTAL MISD BOND TOTAL FELONY BOND TOTAL BOND

3 N/A $ 500.00 $ N/A S$ 500.00

ARRESTING AGENCY (NAME) ORI

Harrison County Sheriff's Department MS0240000

DATE OF ARREST TIME LOCATION OF ARREST

11-06-05 1953 HOURS 18009 TILLMAN RD. GULFPORT, MS 39503

ARRESTING OFFICER (# & NAME) ASSISTING OFFICER (# & NAME) INVESTIGATOR HANDLING CASE

# 75 N, ALLEN # 93 R.BORJA
DETENTION DATE/TIME | OFFICER (# & NAME) CELL PROPERTY PHONE CALL MADE (YES/NO)

DOCKET FACILITY PICTURE FINGERPRINTS
ADULT DETENTIONL] JUVENILE DETENTIONL] SHELTERLIoTHEREI | YESC] NOC] yes(] not]

NCIC INQUIRY NEGATIVEL] | Nic# CHARGE AGENCY

POSITIVE
RELEASE DATE/ OFFICER (& NAME) RELEASE STATUS (BOND, TIME SERVED, ECT) SHERIFF'S RECEIPT NUMBER
TIME
NCIC INQUIRY NEGATIVE NICH CHARGE AGENCY

POSITIVE

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AVID !
Al ja&

W-Witness P-Parant

R-Recovered D-Damaged

4 ~ INCIDENT NUMBER 5-2-2278
£1 JUVENILE INVOLVED | | OFFENSE FORM | 05
1. Type Offense 1 2. Code 3. Type Offense 4. Code 5. Offense Occuned
o | PUBLIC DRUNK | Earlies! Tatest
8, Date Offense Reported 7. Time Offense Reported Date Date
e U1 -06-05 1929 HOURS 11-06-05 11-06-05
yy [8. Location of Offense (Street Address) Time Time
s {18009 TILLMAN RD. GULFPORT, MS 39503 1929 1953
E 9. Firm Name (if Commercial) 10. Grid 11. Patrol Area 12. Shift 13. Day(s) of Week Occured
CHOPPERS LOUNGE N/A 5S. WEST MIDNIGHT SMTWTES
Vv 14. Victim's Name (Last, First, Middle) 15. Residence Address 16. Res. Phone
|
47. Victim DOB 18. Sex 19. Race {| 20. Employer/School 21, Business/School Address 22, Bus, Phone
I 23. [2V BE RP | 24. Name (Last, First, Middle) 25, Residence Address 26. Res. Phone
M mwoPe | RANDAZZO, THOMAS SSN XXX-XX-XXXX 1906 46TH AVE. GULFPORT, MS 39501 228-547-4393
& 2 27. DOB 28. Sex 29, Race | 30. Employer/School 31, Business/Schoo! Address 32. Bus, Phone
W 05-06-67 M Ww. CHOPPERS LOUNGE . 18009 TILLMAN RD. GULFPORT, MS 39503 UNKNOWN
I 33. [IV BE RPI 34. Name, (Last, First, Middle) 35, Residence Address 36. Res. Phone
TH, Owoe | ALLEN, KENNETH N. ON FILE ON FILE -
Nj” | 37. D0B 38.Sex {39.Race |40. Employer/School 41. Business/School Address 42, Bus. Phone
E ON FILE M HARRISON CO. SHERIFF DEPT. P.O. BOX 1480 GULFPORT, MS 228-865-7060
5 . a . .
s 43, Victim/Suspsct Relationship o ag Stranger q 4 og Acquaintance 4 do Relative x Oey pelted
45. Status-| 46 Oty | 47 Article 48. Brand, Make or 49. Model Name 50. Description 51. Serial No. And/Or {52. Value
Manufacturer and Number (Color/Size) Owner Applied No.
Oecs
ORG)
OeoOs
ORrmd
PjJOeECS
RjOR OD
~ O.., DOets ~
- (GRoo
rR |OeEOs
T OrRdod
yYiOeds
ORO.
Oeds
y (ORO)
E | VEHICLE 53, License No. 54. State 55. Ven. Yr. 56. Make/Styia 57. Model 58. Colar/Color 59. Value
HIOEOS
1{OROo
C 160. VIN Number 61. Vehicle Marks/ Damage/ Decals/Comments
L
E
62. Narrative of Offense (Attach Additional Narrative if Needed)
ON 11-06-05 DEPUTY ALLEN RESPONDED TO CHOPPER LOUNGE IN REFERENCE A DRUNK AND DISORDERLY)
COMPLAINT. UPON ARRIVAL DEPUTY ALLEN SPOKE TO THOMAS RANDAZZO WHO STATED THAT A WHIT!
N |MALE, LATER IDENTIFIED AS GARY MCBAY, WAS DISTURBING THE BUSINESS AND ASKED TO LEAVE. MR
a RANDAZZO SAID THAT HE WATCHED AS MR. MCBAY WAS LEAVING AND NOTICED HIM FALLING OVER ANI
rR [HITTING OTHER VEHICLES. MR. RANDAZZO TOLD MR. MCBAY TILAT HE DID NOT NEED TO BE DRIVING AND TC
4 WAIT FOR THEM TO CALL HIM A TAXI MR. RANDAZZO STATED THAT MR. MCBAY THEN ATTEMPTED TC
| [ASSAULT HIM. MR. RANDAZZO THEN GRABBED MR. MCBAY AND HELD HIM DOWN UNTIL THE SHERIFF'S DEP?
x ARRIVED. DEPUTY ALLEN OBSERVED MR. RANDAZZO SITTING ON TOP OF MR. MCBAY AND NOTICED THAT MR
MCBAY HAD A BLOODY NOSE. AMR RESPONDED AND MR. MCBAY REFUSED ANY TREATMENT. DEPUTY ALLE
THEN PLACED MR. MCBAY INTO CUSTODY AND TRANSPORTED HIM TO THE JAIL. MR. MCBAY WAS CHARGEL
WITH PUBLIC DRUNK.
63. Evidence Disposition (Location 1) 683A. Complainani/Victim
Signature:
64. MOI (Reverse Side) CODE CODE | 6&5. OFFENSE STATUS
, 1, Type of Premise F 7. Weapon Type - OPEN CLOSED
2 Obes ot Atak <] a use swesnen | BSS gpeuteeimacie mio leres At en
s 3. Point of Entry = 9. Method of Departure C gO 66 Detective Follow-Up ET 30 Cleared Juvenile Custody
4, Method of Entry - 10. Demeanor of Suspect |__F mye Ne oe Ole ten aie
5. Mathod of Attack (Person) - 11. Evidence Obtained - ( Will Sign Later OF 70 Unfounded
8. Method of Attack (Property) - 12, Place of Offense C
- 13. Solvability Factors A
ne *epoTng meer N. ALLEN 67. DVISIOB A TROL Re Ga Nine rigor: ) i |oej65
79, Follow-Up Officer 74. Date/Time Assigned 72. Attachments V Namative ) Other
No. - Name OF Offense Form i! Hl Custody Form (Describe)
